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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
UNITED STATES OF AMERICA,
                                                                      10 cr 74 (PKC)

                 -against-                                                ORDER

JOSE LUIS GRACESQUI,

                                    Defendant.
-----------------------------------------------------------x
 CASTEL, U.S.D.J.
                 Defendant Jose Luis Gracesqui, proceeding pro se, moves for a reduction of

sentence pursuant to the First Step Act of 2018.

                  The defendant was convicted after trial on Count One charging him with

intentionally and knowingly killing, and counseling, commanding, inducing, procuring, and

causing the intentional killing of Richard Diaz while engaged in a conspiracy to distribute and to

possess with the intent to distribute one kilogram or more of mixtures or substances containing a

detectable amount of heroin in violation of 21 U.S.C. § 848(e)(1)(A) and 18 U.S.C. § 2, Count

Two charging him with participating in a murder-for-hire conspiracy in violation of 18 U.S.C. §

1958 and Count Three charging him with a substantive count of murder-for-hire in violation of

18 U.S.C. § 1958 and § 2. He was sentenced principally to three concurrent terms of life

imprisonment.

                 Gracesqui argues that his conviction for a violation of section 848(e)(1)(A) was

dependent upon conduct that was punishable under section 841(b)(1)(A) and that the punishment

under section 841(b)(1(A) has been reduced by the First Step Act and therefore he is eligible for

a sentence reduction under section 3582(c)(2) of title 18. The First Step Act provides that “[a]



                                                               Mailed to Mr. Gracesqui 11/2/2020
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court that imposed a sentence for a covered offense may, on motion of the defendant ... impose a

reduced sentence as if sections 2 and 3 of the Fair Sentencing Act ... were in effect at the time the

covered offense was committed.” First Step Act of 2018 § 404, Pub. L. No. 115-391, 132 Stat.

5194, 5222. A “covered offense” means “a violation of a Federal criminal statute, the statutory

penalties for which were modified by section 2 or 3 of the Fair Sentencing Act . . . that was

committed before August 3, 2010.” Id. There is no dispute that Gracesqui’s offense conduct

ended in 1999.

                 Gracesqui’s claim fails because he was not convicted of a crime whose penalties

have been reduced by section 2 or 3 of the Fair Sentencing Act. He was convicted on Count One

of an intentional killing in the course of a crime punishable under section 841(b)(1)(A) in

violation of section 848(e)(1)(A. He was not convicted under section 841(b)(1)(A) and any

reduction in the penalty under section 841(b)(1)A) has no impact on the available sentence range

for the crime charged in Count One. Further, the murder furthered a heroin distribution

conspiracy and the penalties for heroin distribution were not reduced in section 2 or 3 of the Fair

Sentencing Act. Thus, he is not eligible for a sentence reduction. United States v. Echeverry,

No. 19-2202-CR, 2020 WL 6306957, at *2 (2d Cir. Oct. 28, 2020) (“Because [defendant’s]

sentence could not have been lower even if ‘sections 2 and 3 of the Fair Sentencing Act ... were

in effect at the time the covered offense was committed,’ the district court correctly concluded

that it lacked the authority to reduce [defendant’s] sentence.”)

                 Defendant Gracesqui’s motion (Doc. 276) for a sentence reduction and other

associated relief is DENIED.
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               This Court certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from this

order would not be taken in good faith and therefore in forma pauperis status is denied.

Coppedge v. United States, 369 U.S. 438 (1962).




               SO ORDERED.




Dated: New York, New York
       November 2, 2020
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    Only the Westlaw citation is currently available.                                            I
    United States Court of Appeals, Second Circuit.
                                                                  “On September 27, 2004, Echeverry handed a jacket
       UNITED STATES of America, Appellee,                        containing 315 grams of heroin to an undercover detective
                      v.                                          and discussed payment terms with that detective.” Echeverry
      Carlos ECHEVERRY, Defendant-Appellant.                      v. United States, No. 04-CR-1162, 2013 WL 5548801, at *1
                                                                  (S.D.N.Y. Oct. 8, 2013). After his arrest, a grand jury issued
                      No. 19-2202-cr                              an indictment that charged the distribution, and possession
                             |                                    with intent to distribute, of 315 grams of heroin. In response,
                    August Term 2020                              Echeverry attended a series of proffer sessions in which he
                             |                                    disclosed his extensive background in drug trafficking and his
                Submitted: October 14, 2020                       involvement in an attempt to collect a drug debt that resulted
                             |                                    in the discharge of a firearm. Entering into a cooperation
                 Decided: October 28, 2020                        agreement, Echeverry waived indictment and, in 2005, he
                                                                  pleaded guilty to a two-count information. Count one charged
On Appeal from the United States District Court for the
                                                                  Echeverry “with conspiring to distribute, and to possess with
Southern District of New York (Woods, J.)
                                                                  the intent to distribute, (a) five or more kilograms of cocaine,
Attorneys and Law Firms                                           (b) one or more kilograms of heroin, and (c) 50 or more
                                                                  grams of cocaine base.” Id. Count two charged Echeverry
Carlos Echeverry, White Deer, PA, pro se.                         “with aiding and abetting the use, carrying, and discharge of
                                                                  a firearm during and in relation to a drug-trafficking offense.”
Michael McGinnis and Anna M. Skotko, Assistant United             Id. After the plea hearing, Echeverry was released on bail so
States Attorneys, for Audrey Strauss, Acting United States        that he could continue his cooperation with the government.
Attorney for the Southern District of New York, New York,
NY.                                                               In 2007, Echeverry was arrested for the possession and sale of
                                                                  a controlled substance in the State of New York. In 2010, the
Before: Walker and Menashi, Circuit Judges. *                     district court sentenced Echeverry to a term of 240 months’
                                                                  imprisonment—120 months for each count of the information
Opinion
                                                                  —and a term of five years’ supervised release. This court
Per Curiam:                                                       affirmed. See United States v. Echeverry, 649 F.3d 159 (2d
                                                                  Cir. 2011). On November 14, 2012, Echeverry filed a motion
 *1 Appellant Carlos Echeverry challenges a decision of           under 28 U.S.C. § 2255, which permits “[a] prisoner in
the U.S. District Court for the Southern District of New          custody under sentence of a court established by Act of
York (Woods, J.) denying Echeverry's motion to reduce his         Congress” to “move the court which imposed the sentence
sentence of 120 months’ imprisonment under the First Step         to vacate, set aside, or correct the sentence.” 28 U.S.C. §
Act. Under the Act, a defendant may move a district court to      2255(a). The district court denied § 2255 relief and this court
reduce his sentence if his sentence would have been lower had     dismissed Echeverry's appeal as untimely.
the Fair Sentencing Act been in effect. As relevant here, the
Fair Sentencing Act increased the quantity of crack cocaine       In 2019, Echeverry, proceeding pro se, filed a motion
required to trigger a mandatory minimum sentence under            requesting the reduction of his sentence under the First Step
21 U.S.C. § 841. Echeverry argues that, because he was            Act. In an order dated July 2, 2019, the district court denied
charged with and pleaded guilty to an offense involving the       relief on the ground that, “[b]ecause Mr. Echeverry pleaded
distribution of crack cocaine, the district court erred when it   guilty to conspiracy to distribute cocaine and heroin in
concluded that this conviction for two other offenses—both of     quantities that required the imposition of a 10 year mandatory
which had a mandatory minimum sentence of 120 months—             minimum sentence,” Echeverry's sentence could not have
precluded First Step Act relief. We conclude the district court   been lower if the Fair Sentencing Act had been in effect.
was correct and affirm.                                           Echeverry timely appealed.



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                                                                    Count one of the superseding information charged three
                                                                    controlled substance offenses, each of which constituted a
                               II                                   violation of 21 U.S.C. § 841. That statute provides that “it
                                                                    shall be unlawful for any person knowingly or intentionally to
 *2 In 2010, “President Obama signed into law the Fair
                                                                    manufacture, distribute, or dispense, or possess with intent to
Sentencing Act of 2010.” United States v. Johnson, 961 F.3d
                                                                    manufacture, distribute, or dispense, a controlled substance.”
181, 183 (2d Cir. 2020). The Fair Sentencing Act “increased
                                                                    21 U.S.C. § 841(a)(1). Section 841 sets out mandatory
from 50 to 280 grams the amount of crack cocaine necessary
                                                                    minimums that are triggered when the defendant's violation
to trigger” the mandatory minimum provided by 21 U.S.C.
                                                                    of § 841(a)(1) involves specified quantities of controlled
§ 841. Id. But the Fair Sentencing Act did not apply to
                                                                    substances. As relevant here, the statute provides that a
sentences imposed before its enactment. In 2018, President
                                                                    defendant whose “violation of subsection (a)” involves “1
Trump signed into law the First Step Act. In relevant part,
                                                                    kilogram or more of a mixture or substance containing a
the First Step Act provides that “[a] court that imposed
                                                                    detectable amount of heroin” shall “be sentenced to a term of
a sentence for a covered offense may, on motion of the
                                                                    imprisonment which may not be less than 10 years or more
defendant ... impose a reduced sentence as if sections 2 and
                                                                    than life.” 21 U.S.C. § 841(b)(1)(A)(i). Similarly, a defendant
3 of the Fair Sentencing Act ... were in effect at the time the
                                                                    whose crime involves “5 kilograms or more of a mixture or
covered offense was committed.” First Step Act of 2018 §
                                                                    substance containing a detectable amount of ... cocaine” shall
404, Pub. L. No. 115-391, 132 Stat. 5194, 5222. The statute
                                                                    also be sentenced to a minimum mandatory term of 10 years
defines the term “covered offense” to mean “a violation of
                                                                    imprisonment. 21 U.S.C. § 841(b)(1)(A)(ii)(II). Because
a Federal criminal statute, the statutory penalties for which
                                                                    count one charged a conspiracy to distribute and possess
were modified by section 2 or 3 of the Fair Sentencing Act ...
                                                                    with intent to distribute “five or more kilograms of cocaine”
that was committed before August 3, 2010.” Id. Echeverry's
                                                                    and “one or more kilograms of heroin,” count one carried
position is that, because he was charged with the possession
                                                                    a mandatory minimum of 120 months imprisonment even
and distribution of crack cocaine, the penalties for which were
                                                                    without the inclusion of Echeverry's crack-cocaine offense.
altered by the Fair Sentencing Act, the district court had the
                                                                    Because Echeverry's sentence could not have been lower even
power to reduce his sentence.
                                                                    if “sections 2 and 3 of the Fair Sentencing Act ... were in effect
                                                                    at the time the covered offense was committed,” the district
The First Step Act permits a district court to reduce a sentence
                                                                    court correctly concluded that it lacked the authority to reduce
only to the extent that the sentence could have been lower
                                                                    Echeverry's sentence.
“if sections 2 and 3 of the Fair Sentencing Act ... were
in effect at the time the covered offense was committed.”
                                                                    For the foregoing reasons, we AFFIRM the judgment of the
Because count one of the superseding information charged
                                                                    district court.
two non-crack-cocaine offenses that each carried a mandatory
minimum sentence of 120 months’ imprisonment, Echeverry
is ineligible for First Step Act relief. See United States v.       All Citations
Jones, 962 F.3d 1290, 1303 (11th Cir. 2020) (“If the movant's
sentence would have necessarily remained the same had the           --- F.3d ----, 2020 WL 6306957
Fair Sentencing Act been in effect, then the district court lacks
the authority to reduce the movant's sentence.”).




                                                            Footnotes


*       Senior Circuit Judge Ralph K. Winter, originally a member of the panel, is currently unavailable, and the
        appeal is being adjudicated by the two available members of the panel, who are in agreement. See 2d Cir.
        IOP E(b).




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